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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CLINICAL WOUND SOLUTIONS, LLC. )
                               )
     Plaintiff,                )
                               )
v.                             )                   Case No. 18-cv-07916
                               )
NORTHWOOD, INC.,               )                   Judge Martha M. Pacold
                               )                   Magistrate Judge M. David Weisman
     Defendant.                )

                    PLAINTIFF’S MOTION FOR EXTENSION OF TIME

       Plaintiff, Clinical Wound Solutions, LLC, by and through its attorney, respectfully

submits this Motion for Extension of Time to Respond to Defendant’s Second Set of

Interrogatories and states as follows:

       1.     Defendant served its Second Set of Interrogatories upon counsel for the Plaintiff

on January 22, 2020 to be answered within thirty (30) days of service.

       2.     On July 16, 2020, Plaintiff was granted an extension of time to respond to August

12, 2020.

       3.     Plaintiff’s staff has been working on collecting the information requested by the

Defendant but has been unable to complete the responses.

       4.     Due to the current challenges presented and the unavailability of our client’s

staff, additional time is required to complete the response to these additional interrogatories.

       5.     Plaintiff requests an additional 45 days to respond to the additional

interrogatories.
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            WHEREFORE, Plaintiff respectfully prays for the entry of an order granting Plaintiff

an additional 45 days to respond to the additional interrogatories, plus any further relief in

favor of the Plaintiff as this Honorable Court deems just and proper.




Dated: August 11, 2020                                                  Respectfully submitted,

                                                                        By: /s/ Sandra T. Kahn


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